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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
JASON LEOPOLD,                            )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )
                                          )                   Case No. 15-cv-02117 RDM
U.S. DEPARTMENT OF JUSTICE                )
                                          )
                  Defendant.              )
__________________________________________)

                                   STATUS REPORT

       Pursuant to this Court’s Order of October 3, 2016, Defendant respectfully submits

the following status report, based on information provided to it by non-party the

Department of State (“State”).

       The Court ordered that, by April 1, 2018, State aspire to review at least 1,850

pages of documents from the records provided to it by the Federal Bureau of

Investigation, and for each document reviewed to: (1) determine that it is not responsive

to the request at issue in this case; (2) refer the document to another agency for

consultation; or (3) produce the document, with appropriate redactions, to Plaintiff. See

ECF No. 26, Oct. 3, 2016 Order, at 1-2.

       State exceeded the goal set forth in the Order. By April 2, 2018,1 State had

processed 2,487 pages of documents from the materials provided to it by the FBI. On the




1
 Because April 1, 2018 was a Sunday, State posted the documents to its publicly
accessible FOIA “reading room” website on Monday, April 2, 2018. Therefore,
Defendant is filing this status report today. See ECF No. 26, Oct. 3, 2016 Order, at 2
(requiring filing of status report one week after each production).
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same date, State posted to its publicly accessible FOIA “reading room” website 72

documents comprising 326 pages. State also withheld 4 documents in full, comprising 4

pages. The remaining 2,157 of the 2,487 pages processed were determined to be

duplicative of information previously released, and thus are not responsive to Plaintiff’s

FOIA request.

Dated: April 9, 2018                          Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General

                                              MARCIA BERMAN
                                              Assistant Branch Director

                                              /s/ Jennie L. Kneedler
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